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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

                        v.

 ANTHIME GIONET,                                       Case No. 1:22-cr-132 (TNM)

                        Defendant.

                                              ORDER

       Anthime Gionet pleaded guilty to, and received a sentence for, one misdemeanor count of

illegally parading, demonstrating, or picketing in a Capitol Building, in violation of 40 U.S.C.

§ 5104(e)(2)(G). He is currently on probation. Gionet now requests permission to travel to

Costa Rica with his family between January 5 and January 12, 2024. In response to his motion,

the Government represents that Gionet has “paid fully the fine, restitution, and special

assessment that the Court imposed.” Gov’t Response ¶ 3, ECF No. 79. Because “Gionet is fully

compliant with his terms of supervision,” the Government defers its position on the travel motion

to the Court and “the opinion of Probation.” Id. ¶ 5. The Government also recommends certain

terms that the Court imposes below. The Probation Office has telephonically confirmed to the

Court that Gionet is fully complaint with his supervised release conditions. So Probation does

not oppose his travel motion. For these reasons, it is hereby

       ORDERED that Gionet’s [78] Motion to Travel is GRANTED with the following

conditions:

       1.       In a sealed filing, Gionet shall provide the Court, the Probation Office, and the

                Government his planned itinerary for each day of travel;
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      2.       Gionet shall provide his Probation Officer with his and his parents’ telephone

               numbers, and Probation shall promptly contact them to confirm Gionet’s travel

               plans; and

      3.       Gionet shall contact his Probation Officer each day he is traveling to verify his

               location.

      SO ORDERED.

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Dated: December 4, 2023                              TREVOR N. McFADDEN, U.S.D.J.




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